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                             CASE 00: 18-CV- 24996-MX)RE                   FEB 0 5 2019
                                         (17-CR-20081-~RE)                  ANGELA E. NOBLE
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                  ABDUL PIERREUJS
                        MOVANT,

                       v.
                 UNITED STA1E.5 OF AMERICA
                            RESPONDENT


               -------------------------------------------------------

            PEITTIONER's OBJECTION 'ID nIE MAGISIRATE JUDGE's REPORT
            AND RECllffMlATION



            ------------------------------------------------------------



                               BY    ABDUL PIERRELUS :__
                                     B.O.P. # 09826-104
                                     l>aORAY JAMES CPRRECTIONAL FACILITY
                                     P.O. BOX 2000
                                     FOLKS'IlIDN, GA. 31537

DATED: JANUARY 28, 2019.
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                            OBJECTION 'ID MAGISTRATE' s REPOKI'
                                 D.4TED DECEMBER 4, 2018


  ~Y:      'Ibis is a 28 U.S.C.§2255 petition, filed by Abdul Pierrelus, acting pro se.
   After sentence, Movant promptly retained counsel, Paul Petruzzi Esq. to file a §2255
  petition and any other relevant post-conviction motion. Petruzzi took the money and
  did nothing. Meanwhile, the one year limitation time for filing of §2255 expired,
  with Petruzzi assuring and reassuring movant that he is in touch with the Assistant
  United States Attorney, who, supposedly , is his friend. By the time movant realized
  that Counsel was not being truthful, it was too late. Nevertheless, he filed this
  pro se petition mat of time, principally because of Petruzzi' s deceit. He attached
  the retainer agreement to his moving papers. Without permitting the government to
  respond, the magistrate judge sua sponte, recommends surrnnary dismissal of the
  Petition.as untimely. Petitioner objects to the Magistrate's report because it is
  premised on factual and legal errors.

  FACIUAL ERRORS: At page 3, the report states " Movant did not sign this document"
  refering to the retainer agreement between hired counsel and Movant. 1he learned
  magistrate fails to note that the two page retainer was signed by Mr. Paul Petruzzi
  and LOiiirljine Jadotte, as guarantor on behalf of movant. Ms. Jadotte paid the initial
  sum of $7,500 to Paul Petruzzi, esq. At P. 5, of his report, the Magistrate repeats
  and realleges that " Movant did not sign it ". Repetition, in context, generally
  makes for emphasis. This emphasis that " Movant did not sign it" was a key factor
  in shaping the Magistrate's Report in this matter. But, that is unfortunate. It is
  a known fact, that, movant was and still is incarcerated at D. Ray James Correctional
  Facility, Folkston, Georgia, at all material times. Counsel's office is located in
 . Miami, Florida.MOvant's-, wife paid the retainer and signed the agreement. Does that
  in any way take something away from the authenticity of the document or does the fact
  that movant did not personally sign the agreement, nullify its effectiveness? 1he

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  answer is, NO. Yet, the Magistrate was convinced that something nefarious must be
  going on, simply because Movant did not personally sign the agreement. Here, now
  r.bvant attached an affidavit from MS. Jadotte to proof that she is a real person
  and that her signature and payment is real. Exh. "A". No court of record had been
 known to frown at a spouse or family member signing a retainer agreement on
 behalf of an inmate.
      Moreso, movant'J'complaint here, is not the first time counsel Paul D. Petruzzi
  is accused by a defendant of "dropping the ball". In United States V. Hernandez,
  2018 U.S. App. LEXIS 21290 (11th Cir. 2018) Hernandez in his motion argued that his
  counsel Petruzzi " dropped the ball" on appeal by failing to file a reply brief. He
  also contends that Petruzzi has provided ineffective assistance of counsel at
  sentencing and on appeal." 'Iherefore, movant should be believed that he may not be
  making up anything in this petition. Movant requests a hearing in open Court where
  the truth of his allegations can be put to the test.




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  STANDARD OF REVIEW
           The judge has power to " modify or set aside any part of [ a
  Magistrate Judge's Order] that is clearly erroneous or is contrary
  to law." Fed. R. Civ. P.72(a). The District Court's power to review
  a Magistrates's Report and Recommendation ( hereinafter "R & R") is
  further iterated under 28 U.S.C.§636. In 28 U.S.C.§636(b)(I)(c), the
  statute mandates a De Novo Review. This structure of review is
  constitutionally permissible because the district court retains
  " total control and jurisdiction" and " exercises the ultimate
  authority to issue an appropriate order." Thomas V. Arn, 474              u.s. __ 140,
  153, 88 L.Ed 2d 435 (1985). In Samples V. Ballard, 860 F3d 266, 271-75
  (4th Cir. 2017)( if the habeas Corpus petitioner, objects to the
  Magistrate's report and recommendation, thereby invoking right to
  de novo review of issues resolved by magistrate judge, district Court
  must consider even argument's that the petitioner raised for the
  first time in objection, if argument " could have [been] raised before
  the magistrate). After its review, the need for the district judge
  to make a proper statement of findings and reasons fit for appellate
  review was emphasized in the case              Cruz V. Marshal, 673 Fed. Appx.
  296, 297-99 (4th Cir. 2019)( Vacating district Court's denial of
  habeas Corpus petition '' because the district Court failed to properly
  consider petitioner's objection to the magistrate's Report and
  Recommendation and provide an adequate rationale for its decision.'')

  OBJECTION TO REPORT AND RF.CXM-tmllATION


  1.   Magistrate Failed to Consider the effect of 28 U.S.C.§2255(f)(4) in his
  Analysis:   This is a case where movant had paidJretained an attorney who promised
  him that he was talking to the United States Attorney on the file in an effort to

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  secure a reduction of movant's sentence and that if the discussion fails, counsel
  will file the necessary papers for a §2255 habeas petition. Movant who is incarcerated
  has to depend on family members to track down the attorney who in most cases was not
  returning his calls. It was in the month of October 2018, that Movant discovered that
  counsel did not file the §2255 petition as promised. Movant discovered this by having
  a friend who is not in prison check the PACER for him. 'Ille friend advised him that
~no    motion was ever filed by Mr. Petruzzi. 'Ill.ere and then movant secured the services
  of   anc:)ther~-inmate   who then assisted him to write the Petition at bar. 'Illus, movant
  filed his §2255 petition within one month (1) of discovering that his retained
  attorney had been dishonest and had deceived him.
           28 U.S.C.§2255 (f) provides:
  (f) A 1-year period of limitation shall apply to a motion under this section. 'Ille
  limitation period shall run from the latest of :
  (4) the date on which the facts supporting the claim presented could have been
  discovered through the exercise of due diligence.
            In lk>ll.and V. Florida, 560 U.S. 631, 177 L.Fd 2d 130 (2010) " We have not
  decided whether AEDPA's statutory limitations period may be tolled for equitable
 ~easons ••••••     Now, like all 11 Courts ;of Appeals that have considered the question,
  we hold that 2244(d) is subject to equitable tolling in appropriate cases." "A
  statute of limitations defense ••.• is not jurisdictional. "Day V.           ~~nough,       547
  U.S. 198, 205, 164 L. F.d 2d 376 (2006)( " It does not set forth an inflexible rule
  requiring dismissal whenever its clock has run") 'Illerefore, it goes without argument
  that equitable tolling is applicable to the case at bar, within the anticipation of
  §2255.
  But in this case, movant's petitioP'          is:ffriiely, having been made within   o~   (l),1
  month _of discovering the deceit of his post-conviction counsel. §2255(f)(4).
  "For this provision to apply, a petitioner's diligence must merely be 'due' or
   .- reasonable' under the circumstances." Stams V. Andrews, 524 F.3d 612, 619 \

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  (5th Cir. 2008). " Diligence can be shown by prompt action on the. p~n:t of the
 petitioner as soon as he or she is in position to realize that he or she should act."
 Jolmson V. United States, 544 U.S. 295, 308, 161 L.Fd 2d 542 (2005)(" In applying
  2255(f)(4), ' the important thing is to identify a particular time when diligence
  is in order." id) Thus, it is indisputable that petitioner was within his statutory
  time to file this §2255 motion when he did. Within one month of learning of the
 attorney's deceit and dishonesty, petitioner acted pro se and filed this petition.
  In   ~re   V. Knight, 368 F.3d 936, 938 (7th Cir. 2004) the Court held that defendant
 was not "dilatory " in his investigation of the judge's ex parte communications,
 particularly given that " 28 U.S.C. 2244 does not require the maximum feasible
  diligence" but only "due, or reasonable diligence.") Citing Wims V. United States,
  225 F.3d 186, 190 n.4(2d Cir. 2000). t-breso, the First Circuit had held in Wood V.
  Spencer, 487 F.3d 1, 5 (1st Cir. 2007 ) that the " test of due diligence under section
  2244(d)(1)(D) is objective not subjective ••.• ").
         Movant's counsel was dishonest and deceitful. He actions epitomize bad faith
  in that , he took movant's money and failed to keep his end of the bargain. As
  movant's attorney, Petruzzi is in a fiduciary relationship with movant and as such
  his actions are indicative of a text book definition of bad faith. Counsel specifically
  was retained and paid to file a §2255 petition (See Retainer agreement), he lied to
  movant that he is in negotiation with the U.S attorney to secure a quick reduction
  of movant's sentence, which is the sole purpose of the §2255 petition. He promised
  movant that if his negotiations fail, he will irrmediately file a §2255 petition. As
  movant has now come to know, Petruzzi neither negotiated with the U.S. Attorney
  nor filed the §2255 petition. He did not even enter an appearance in the case. Yet
  he kept movant's $7,500 deposit and avoided all contacts with movant and his family.
  A hearing will be necessary in this case to plumb the depths of Petruzzi's
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  unprofessional actions and damaging malfeasance in this matter.    1    And in this case
  the failures seriously prejudiced a client who thereby lost what was likely his


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  single opportunity for federal habeas review of the lawfulness of his imprisonment."
  Holland V. florida supra.
:. . 2. MAGIS'mATE', · Cll1PI.fil'ELY MISSED.:..:IllE MARK:   Even though the Magistrate, stated
  the proper standard of review, principally by stating that " In reviewing a motion
  under Rule 4, Courts must construe it liberally." Citing enriquez V. FIA. Parole
  Caon'n, 227 F.App'x 836, 837 ( 11th Cir. 2007)(Cting Haines V. Kerner, 404 U.S.
  519, 520 (1972)), he was anything but liberal in his approach to the instant petition.
  'Ille magistrate disbelievedthe retainer agreement with Petruzzi simply because
  movant who was and is still incarcerated when Petruzzi was retained, did not sign
  the document. Overlooking the facts of the petition which on its face should trigger
  an inquiry into the applicability of §2255(f)(4), the Magistrate introduced and
  directed the Court to a tenuous discuss of " equitable tolling" which even if
  argued   is~of   no avail to movant's case. Without such redherring, the Court sua sponte
  would have raised the issue of the applicability of the " Statutory tolling"
  enshrined as §2255(f)(4). 1herefore, the Court should find itself within its
  judicial confines to review movant's petition under the provisions of §2255(f)(4).
  After all, just as an appellate Court can affirm under any theory disclosed by the
  record on appeal, the district judge can accept and review matters not considered

  in the magistrates R & R 1he Fed. R. Crim. P. 58 (g)(2)(D) provides that the district
                                  0




   Court's review of magistrate judge's judgment " is the same as in an appeal to the
   court of appeals from a judgment entered by a district judge."). Furthermore, __
   28 U.S.C.§636(b)(1)(c) provides that once the district judge has concluded de novo
   review, the district judge " may accept, reject, or modify, in whole or in part,
   the findings or recormnendations made by the Magistrate judge • 'Ihe judge may also
   receive further evidence or recormnit the matter to the Magistrate judge with
   instructions." See         United States V. Elsoffer, 644 F.2d 357, 359 (5th Cir. 1981);
   Samples V. Ballard, 860 F.3d 266, 271-75 (4th Cir. 2017)(if the habeas Corpus
   petitioner objects to the magistrate's report and recormnendation, thereby invoking

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  right to de novo review of issues resolved by the Magistrate judge, district
  Court nrust consider even argument's that petitioner raised for the first time in
  the objection, if argument " could have [been] raised before the magistrate). Here
  movant raises the applicability of §2255(f)(4) to his case. Although not specifically
  raised in his petition, but the underlying facts were fully laid out in the petition.
  1he main supporting evidence- the retainer, was attached to the petition. 1hus, the
  Court will find it comfortable to address this issue at this point.

         It will amount to an unmitigated travesty of justice, for the Court not to
  see the egregiousness of counsel's action in this case. As the Supreme Court stated
  in Holland V. Florida, 560 U.S. 631, 177 L.&i 2d 130 (2010) " A group of      te~chers

  of legal ethics tells us that these various failures violated fundamental canons
  of professional responsibility, which require attorneys to perform reasonably
  competent legal work, to communicate with their clients, to implement client's
  reasonable requests, to keep their clients informed of key developnents in their
  cases, and never to abandon a client.'' 1he Second Circuit also, solomonically
  opined " although we have previously found reasonable diligence when attorneys
  ignored their clients' express instructions to file habeas petitions      ..... '
  plainly no one is born with an understanding of habeas corpus and its deadlines."
  Martinez V. Superintendent of F.astern Corr. Fae., 806 F.3d 27 (2d Cir. 2015).
         It is instructive to note that the Magistrate judge's concern that movant
  did not sign the attorney's retain is of no moment. 1he Second Circuit Court of
  Appeal has dealt with a similar case and was not concerned that, it was the wife
  and not the petitioner that retained. the lawyer. See Baldayaque V. United States,
  338 F.3d 145.(2d Cir. 2003)( Here, "the inmate's wife hired an attorney to file
  a §2255 petition.")

  'IlIE MAGISmATE DID NOT MAKE A FINDING   WAT 1HE PEITl'ION IS FRIVOLOUS

         1he magistrate could not conclude that petitioner's case is frivolous as to
  warrant automatic dismissal. Rather, he premised his ruling on " timeliness" of the


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   petition. However, the movant notes that his petition has merit and substance.
   As the Supreme Court has intsructed, a defendant is entitled to effective

   assistance of counsel at all" critical stages of a criminal proceeding.""

   " There exists a right to counsel during sentencing in both capital and non capital
  cases. Even though sentencing does not concern a defendant's guilt or innocence,
   ineffective assistance of counsel during a sentencing hearing can result in
   prejudice because any amount of additional jail time has Sixth Amendment
   significance." Iafler V. Cooper, 566 U.S. 156, 182 L.Fd 2d 398 (2012).
          In light of the foregoing, movant prays this honorable Court to reject the
   Magistrate's recommendation and grant such further Orders as the Court deems just
   in the circumstance.


   DATED: FOI1<SI'OO GEDRGIA
          JANUARY Z8, 2019.


              y SUBMI'ITED



<--1ffi11JL PIEimELUS
    B.O.P. I 09826-104
   D. RAY JAHF.S CORRECTIONAL FACILI1Y
   P.O. BOX 2000
   FOIKSTON, GA. 31537



                                  CERTIFICATE OF SERVICE
        I. ABDUL PIERREUJS hereby certify under penalty of perjury, pursuant to
   28 U.S.C.§1746, that on January 28, 2019, I served a copy of the OBJECTION upon
   the government by mailing a same by U.S. first class postage prepaid and
   addressed to
                               BRIAN JAY SHACK, AUSA
                               UNITED STATES ATIDRNEYS OFFICE
                               99 N.E. 4th Street, OFFICE 630.
                               MIAMI, FL. 33132.




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      January 22, 2019




      My name is Lourdjine Jadotte spouse of Abdul
      Pierrelus.This letter will serve to confirm that I signed
      attorney agreement on October 19,2017. Made a
      payment for $7500.00. Paul Petruzzi agreed to represent
      my husband Abdul Pierrelus to vacate his sentence
      motion 2255.



      Sincerely yours,


     -1~1e-~
     LourdJme Jadotte




         l~m'~\:.~·~~~;~~           MAYBEL FERNANDEZ RODRIGUEZ
        ~.   *          ! .E         Notary Public - Stale of Florida
        :.~                {:)..,,:   Commission # GG 012351
         '-.;:,~1onc01'.,,;~--- My Comm. Expires Jul 17 2020
                 '"'"                                       '
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